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                                                  18
                                                                                        UNITED STATES DISTRICT COURT
                                                  19
                                                  20                               NORTHERN DISTRICT OF CALIFORNIA

                                                  21
                                                         TRINITY WILLIAMS, individually,                 CASE NO.: 3:19-cv-01330-MMC
                                                  22
                                                  23                      Plaintiffs,                    JOINT CASE MANAGEMENT
                                                         v.                                              STATEMENT
                                                  24
                                                         COUNTY OF HUMBOLDT and DOES 1 Date: June 7, 2019
                                                  25     through 50,                   Time: 10:30 a.m.
                                                  26                                   Judge: Hon. Maxine M. Chesney
                                                                     Defendants.       Department: Courtroom 7, 19th Floor
                                                  27
                                                        ______________________________________/          Complaint filed: 1/31/2019
                                                  28


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                                                                                        JOINT CASE MANAGEMENT STATEMENT
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                                                   1            The parties to the above-entitled matter joint submit this Joint Case Management Statement
                                                   2   pursuant to the Standing Order for All Judges of the Northern District of California and Civil Local
                                                   3   Rule 16-9.
                                                   4   I.       Jurisdiction & Service
                                                   5            This Court has jurisdiction over the subject matter and the parties pursuant to 28 U.S.C. §
                                                   6   1331 and 42 U.S.C. § 1983. This Court has supplemental jurisdiction over the related state law claims
                                                   7   pursuant to 28 U.S.C. § 1367.
                                                   8            There are no issues regarding personal jurisdiction or service. All parties have been served
                                                   9   or appeared.
                                                  10   II.      Facts
                                                  11            This case arises from alleged failed or improper investigations into alleged sexual and/or
                                                  12   physical assault/abuse of Plaintiff by third-party Christopher Fosnaugh, beginning in or around 2013
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                                                  13   through 2017. Plaintiff alleges she was repeatedly raped, impregnated, sexually abused, stabbed,
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                                                  14   beaten and subject to other abuses during this time period. Plaintiff alleges County of Humboldt
                                                  15   Department of Health and Human Services were aware of said conduct and failed to investigate,
                                                  16   cross-report to law enforcement, or prevent such conduct.
                                                  17            Plaintiff further contends that through the affirmative conduct of the County via the actions
                                                  18   of its employees and/or its agents, Trinity Williams was exposed to danger that she would otherwise
                                                  19   not have faced, thereby violating her Constitutional rights. Plaintiff also contends that the County,
                                                  20   by and through its employees and/or agents, owed the Plaintiff a duty of care, due to its special
                                                  21   relationship with the Plaintiff, and breached that duty to protect the Plaintiff from foreseeable harm.
                                                  22            The County denies all allegations and disputes all factual assertions.
                                                  23   III.     Legal Issues
                                                  24            Plaintiff’s Statement:
                                                  25            1. Whether a special relationship existed among Defendant, its employees and agents and
                                                  26                Plaintiff;
                                                  27            2. Whether Defendant, via affirmative conduct, did expose Plaintiff to danger she would not
                                                  28                otherwise have faced, violating her Constitutional rights;


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                                                   1           3.   Whether via such exposure, was Plaintiff was harmed;
                                                   2           4. The nature and reasonable amount of any damages Plaintiff suffered;
                                                   3           5. Whether Defendant failed to train, supervise or discipline its employees and/or agents, or
                                                   4                whether Defendant ratified improper conduct of its employees and/or agents;
                                                   5           6. Whether the harm alleged to have befallen Plaintiff would have occurred had more
                                                   6                training and adequate supervision of its employees, and whether the failure to provide
                                                   7                adequate training/supervision was a substantial factor in the alleged violations of
                                                   8                Plaintiff’s constitutional rights.
                                                   9           Defendant’s Statement:
                                                  10           1.        Whether a duty existed in relation to Plaintiff’s first, second, third, and sixth claims
                                                  11   for relief for negligence brought under California Government Code sections 815.2(a) and 820(a),
                                                  12   and if so, whether a breach occurred;
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                                                  13           2.        Whether Defendant violated the California Child Abuse and Neglect Reporting Act
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                                                  14   (“CANRA”) in relation to Plaintiff’s fourth and fifth claims for relief;
                                                  15           3.        Whether a mandatory duty exists under Welfare & Institutions Code section 16501.1,
                                                  16   and California Department of Social Services (“CDSS”) regulations 31-205, 31-310, 31-320, 31-335,
                                                  17   31-501, in relation to Plaintiff’s fifth claim for relief, and if so, whether a breach occurred;
                                                  18           4.        Whether Plaintiff can establish a breach of the Fourteenth Amendment pursuant to 42
                                                  19   U.S.C. section 1983 in relation to Plaintiff’s seventh and eight claims for relief;
                                                  20   IV.     Motions
                                                  21           There are no prior or pending motions. Defendant anticipates filing a motion for summary
                                                  22   judgment. The parties are considering if a petition under California Welfare & Institutions Code
                                                  23   section 827 to obtain the juvenile case file of Plaintiff will be required.
                                                  24   V.      Amendment of Pleadings
                                                  25           Plaintiff’s Statement
                                                  26           Doe Defendants are permissible when federal question jurisdiction lies, which was the basis
                                                  27   for Defendant’s removal of this matter. Plaintiff anticipates that via discovery, the identity of Doe
                                                  28   defendants will ascertained.


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                                                                                       JOINT CASE MANAGEMENT STATEMENT
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                                                   1           Defendant’s Statement
                                                   2           Defendant requests the Court order that all Doe defendants be dismissed.
                                                   3   VI.     Evidence Preservation
                                                   4           The parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored
                                                   5   Information, and confirm that the parties have met and conferred pursuant to Fed. R. Civ. P. 26(f)
                                                   6   regarding reasonable and proportionate steps to be taken to preserve evidence relevant to the issues
                                                   7   reasonably relevant in this action.
                                                   8   VII.    Disclosures
                                                   9           The parties propose initial disclosures be completed by July 1, 2019.
                                                  10   VIII. Discovery
                                                  11           No discovery has occurred to date. Discovery will include written discovery and depositions.
                                                  12   The parties do not anticipate any limitations on discovery at this time. The parties anticipate the need
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                                                  13   for a protective order and have agreed to jointly submit a proposed protective order for the Court’s
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                                                  14   approval in accordance with the model used in this district. The parties also anticipate retention and
                                                  15   discovery of experts. A discovery plan is set forth below in section 17.
                                                  16   IX.     Class Actions
                                                  17           This matter is not a class action.
                                                  18   X.      Related Cases
                                                  19           There are no related cases within the meaning of Local Rule 3-12. The parties note however,
                                                  20   that any juvenile court matters for Plaintiff will be part of discovery.
                                                  21   XI.     Relief
                                                  22           Plaintiff seeks compensatory and punitive damages, costs of suit, and attorney fees.
                                                  23   XII.    Settlement and ADR
                                                  24           No settlement discussions have occurred so far. The parties agree that settlement discussions
                                                  25   would be premature at this stage in the proceedings, but submit that the parties may benefit from
                                                  26   settlement discussions following the substantial completion of discovery.
                                                  27   XIII. Consent to Magistrate Judge for All Purposes
                                                  28           Defendant filed a declination to Magistrate Judge jurisdiction on March 19, 2019.


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                                                   1   XIV. Other References
                                                   2           The parties do not believe this case is suitable for binding arbitration, a Special Master, or the
                                                   3   Judicial Panel on Multi-District Litigation.
                                                   4   XV.     Narrowing of Issues
                                                   5           None at this time.
                                                   6   XVI. Expedited Trial Procedure
                                                   7           This case is not appropriate under the Expedited Trial Procedure.
                                                   8   XVII. Scheduling
                                                   9           The parties suggests the following schedule:
                                                  10                                EVENT                          DEADLINE

                                                  11           Deadline To Amend Pleadings             October 7, 2019
                                                               Fact Discovery Cut-Off                  March 1, 2020
                                                  12
                                                               Designation of Experts                  April 10, 2020
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                                                               Supplemental/Rebuttal Experts           May 8, 2020
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                                                  14
                                                               Expert Witness Discovery Cut Off        June 12, 2020
                                                  15           Hearing on Dispositive Motions          November 20, 2020
                                                  16           Pre-Trial Conference                    March 16 , 2021
                                                  17           Trial                                   May 17, 2021
                                                  18
                                                  19
                                                  20   XVIII. Trial
                                                  21           Defendant has demanded a jury trial. Plaintiff agrees. Defendant expects the trial to last
                                                  22   approximately 6-8 days. Plaintiff expects the trial to last 8-12 days.
                                                  23   XIX. Disclosure of Non-party Interested Entities or Persons
                                                  24           None known.
                                                  25   XX.     Professional Conduct
                                                  26           All attorneys in this matter have reviewed the Guidelines for Professional Conduct for the
                                                  27   Northern District of California.
                                                  28   ///


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                                                   1   XXI. Other
                                                   2           At this time, there have not been identified matters which may facilitate the just, speedy, and
                                                   3   inexpensive disposition of this matter.
                                                   4
                                                   5
                                                   6   Dated: May 29, 2019                                   Respectfully submitted,

                                                   7                                                         PORTER SCOTT
                                                                                                             A PROFESSIONAL CORPORATION
                                                   8
                                                   9                                                         By /s/ John R. Whitefleet
                                                                                                                    Stephen E. Horan
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                                                  14   Dated: May 29, 2019                                   BRAGG, MAINZER & FIRPO, LLP
                                                  15
                                                                                                             By /s/ Benjamin Mainzer (authorized on 5/28/19)
                                                  16                                                                Benjamin Mainzer
                                                                                                                    Attorney for Plaintiff TRINITY
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                                                                                                                    WILLIAMS
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